             Case 6:18-bk-01724-CCJ         Doc 30     Filed 10/12/18     Page 1 of 5



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                       Case No.: 18-bk-01724
                                                             Chapter 7
ADAM WILSON
JULIE WILSON

Debtor.                        /


                 AMENDED MOTION TO SELL REAL PROPERTY
           AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                               (409 Grant St)

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
    without further notice or hearing unless a party in interest files an objection within twenty-
    one (21) days from the date set forth on the attached proof of service, plus an additional three
    days for service if any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file your objection with the
    Clerk of the Court at 400 West Washington St, Suite 5100, Orlando, Florida 32801 and serve
    a copy on Arvind Mahendru, Esq., 5703 Red Bug Lake Rd. #284, Winter Springs Florida,
    32708 and any other appropriate persons within the time allowed. If you file and serve a
    response within the time permitted, the Court will either schedule and notify you of a hearing
    or consider the response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
    do not oppose the relief requested in the paper, will proceed to consider the paper without
    further notice and hearing, and may grant the relief requested.

         COMES NOW Dennis Kennedy, Chapter 7 Trustee, by and through his undersigned

counsel, and hereby moves for authority to sell certain improved real property free and clear of

all liens, encumbrances and interests, and in support thereof states as follows:




                                                                                                    1
       Case 6:18-bk-01724-CCJ          Doc 30     Filed 10/12/18     Page 2 of 5



                                   JURISDICTION

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

   1334.This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

   (M), (N) and (O).

2. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b) and

   Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                   BACKGROUND

4. On March 7, 2018, the Debtor filed this case for relief under Chapter 7 of the United

   States Bankruptcy Code.

5. Dennis Kennedy was appointed Chapter 7 trustee (the “Trustee”).

6. The Debtors own real property, by virtue of a deed, located at 409 Grant St, Port Orange,
    Florida, more particularly known as:

  The Easterly 68 feet of Lot 76 and 77, Subdivision for W.W. Marshall, according to
  the map or plat thereof, as recorded in Map Book 5, Page 77, of the Public Records
  of Volusia County, Florida. (the “Property”).

7. The Trustee completed a title search and found that the Property is encumbered by a

   mortgage lien. By priority, but not including any outstanding property taxes or

   municipal liens, the Property is encumbered as follows:

   Mortgage in favor of National City Mortgage a division of National City Bank of
   Indiana in the original principal amount of $135,000.00, dated July 10,2006 and
   recorded in Official Records Book 5877, Page 3103, as assigned in Official Records
   Book 6074,Page 4430, in Official Records Book 6915, Page 3541 and in Official
   Records Book 7509, Page 2031

8. The Trustee has accepted an offer from Sunni Milo (the Buyer) to purchase this home in

  the amount of $95,000.00, as payment in full (subject to Court and Lienholder approval).

  The current offer was not the only offer on the property but is the highest offer.




                                                                                               2
            Case 6:18-bk-01724-CCJ          Doc 30      Filed 10/12/18     Page 3 of 5



       Moreover, the estate believes it is a fair offer for the current economy and the length the

       property has remained on the market.

    9. Any real property taxes will be paid prorated.

    10. The sale price of $95,000.00, net the closing costs will be enough to satisfy the

        outstanding lien of Mr. Cooper as disclosed in the short sale approval attached as

        Exhibit A.

    11. The Trustee has attached a “DRAFT” Settlement Statement that outlines the proposed

        distribution of the sale proceeds at closing, as Exhibit “B.”

                                        AUTHORITY TO SELL

    12. Pursuant to § 363(b)(1) of the Bankruptcy Code, a trustee, after notice and hearing, may

        use, sell or lease property of the estate other than in the ordinary course of business.

                                             CONCLUSION

    13. The Trustee, in the exercise of his business judgment, believes, and therefore avers, that

        the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar

        as there is otherwise no equity in the Property, the Trustee is more familiar with the

        current market than other interested parties, and a sale under this motion serves the best

        interest of all interested parties, including the Secured Creditors. The Buyer has agreed,

        subject to Court approval, to pay to the Trustee the sum of $95,000.00 in exchange for

        the Property free and clear of all liens, encumbrances, or interests.

   WHEREFORE, the Trustee moves for the entry of an Order substantially in the form

attached hereto:

   A. Authorizing the sale of the Property to the purchaser free and clear of all liens,

       encumbrances, or interests of any party; and,




                                                                                                      3
        Case 6:18-bk-01724-CCJ            Doc 30   Filed 10/12/18     Page 4 of 5



B. Authorizing the Trustee to take any all actions and to execute any and all documents

   necessary and appropriate to effectuate and consummate the terms of said sale of the

   Property free and clear of all liens, encumbrances, or interests, including without

   limitation, executing a deed conveying the interests of the Debtor or any other party

   claiming an interest in the Property to the Purchaser;

C. Authorizing the Trustee and any escrow agent upon the Trustee’s written instruction,

   shall be authorized to make such disbursements on or after the closing of the sale as are

   required by the purchase agreement or order of this Court, including, but not limited to,

   (a) all delinquent real property taxes and outstanding post-petition real property taxes pro

   rated as of the closing with respect to the real property included among the purchased

   assets (b) any outstanding Home Owner’s Association fee or assessment arrearages; and

   (c) other anticipated closing costs:

   Total Sales/Brokers Commission:
           3% to Aparo-Griffin                                          $1,900.00
           3% to Century 21                                             $1,900.00*
   *commission is anticipated to be shared with cooperating agent
   Title Charges:                                                       $2,591.25
   Government recording / transfer charges:                             $625.00
   Other / Debits (incl. 506(c) surcharge)                              $5,000.00
   Satisfaction of Liens:
   Mr. Cooper        (home mortgage)                                    $79,914.02

D. Determining that all affected interests have been adjudged and declared to be

   unconditionally released as to the Property;

E. Determining that the Buyer has not assumed any liabilities of the Debtor;

F. Determining that the Buyer is approved as a buyer in good faith in accordance with

   Section 363(m) of the Bankruptcy Code, and that the Buyer is entitled to all protections

   of Section 363(m) of the Bankruptcy Code, and




                                                                                                  4
            Case 6:18-bk-01724-CCJ         Doc 30     Filed 10/12/18      Page 5 of 5



   G. Granting the Trustee such other and further relief as is just and proper.



                                             Respectfully submitted,

                                             /s/ Arvind Mahendru
                                             Arvind Mahendru, Esq.
                                             5703 Red Bug Lake Rd. #284
                                             Winter Springs, FL 32708
                                             407-504-2462

                                     CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by U.S. Mail and/or
electronic delivery to all parties listed below this October 12, 2018:

U.S. Bank National Association and Mr. Cooper c/o Roberston, Anschutz, & Schneid PL via
ECF and all parties on the attached mailing matrix

                                                    /s/ Arvind Mahendru
                                                    Arvind Mahendru




                                                                                            5
